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 9 Attorneys for Defendant ELIZABETH A. HOLMES

10

11                               UNITED STATES DISTRICT COURT

12                             NORTHERN DISTRICT OF CALIFORNIA

13                                       SAN JOSE DIVISION

14
     UNITED STATES OF AMERICA,                 )   Case No. CR-18-00258-EJD
15                                             )
            Plaintiff,                         )   MS. HOLMES’ MOTION TO ADMIT PRIOR
16                                             )   TESTIMONY OF RAMESH “SUNNY”
       v.                                      )   BALWANI
17                                             )
     ELIZABETH HOLMES and                      )   Date: November 29, 2021
18   RAMESH “SUNNY” BALWANI,                   )   Time: 9:00 a.m.
                                               )   CTRM: 4, 5th Floor
19          Defendants.                        )
                                               )   Hon. Edward J. Davila
20                                             )
                                               )
21                                             )
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     MS. HOLMES’ MOTION TO ADMIT PRIOR TESTIMONY OF RAMESH “SUNNY” BALWANI
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 1                           MOTION TO ADMIT PRIOR TESTIMONY OF

 2                                    RAMESH “SUNNY” BALWANI

 3         PLEASE TAKE NOTICE that on November 29, 2021 at 9:00 a.m., or on such other date and

 4 time as the Court may order, in Courtroom 4 of the above-captioned Court, 280 South 1st Street, San

 5 Jose, CA 95113, before the Honorable Edward J. Davila, Defendant Elizabeth Holmes will and hereby

 6 does respectfully move the Court to admit certain prior testimony of Ramesh “Sunny” Balwani. Ms.

 7 Holmes makes this motion pursuant to Federal Rule of Evidence 804. The Motion is based on the below

 8 Memorandum of Points and Authorities, the record in this case, and any other matters that the Court

 9 deems appropriate.

10

11 DATED: November 24, 2021

12

13                                                     /s/ Amy Mason Saharia
                                                       KEVIN DOWNEY
14                                                     LANCE WADE
                                                       AMY MASON SAHARIA
15                                                     KATHERINE TREFZ
                                                       Attorneys for Elizabeth Holmes
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES

 2          Ms. Holmes moves to admit certain prior deposition testimony of her co-defendant Ramesh

 3 “Sunny” Balwani concerning Mr. Balwani’s management of certain aspects of Theranos’ operations

 4 (identified on Exhibits A-C to the Declaration of Amy Mason Saharia)1. Through counsel, Mr. Balwani

 5 has represented that, if called as a witness in the defense case, he would invoke his Fifth Amendment

 6 privilege not to testify in response to any relevant question. Mr. Balwani is therefore unavailable for

 7 purposes of Federal Rule of Evidence 804. His prior testimony is admissible as either (1) a statement

 8 against interest, Fed. R. Evid. 804(b)(3), or (2) prior testimony offered against a party (the government)

 9 that had an opportunity and similar motive to develop it, Fed. R. Evid. 804(b)(1).

10                                                ARGUMENT

11 I.       Mr. Balwani Is Unavailable.

12          Under Rule 804(a)(1), a declarant is unavailable if he is “exempted from testifying about the

13 subject matter of the declarant’s statement because the court rules that a privilege applies.” This

14 exemption includes the Fifth Amendment privilege against self-incrimination. United States v. Wyatt,

15 804 Fed. Appx. 530, 532 (9th Cir. 2020). Rule 804(a)(1) requires a court ruling that the Fifth

16 Amendment privilege applies. See Fed. R. Evid. 804 adv. comm. notes.

17          In cases “where the trial judge has some special or extensive knowledge of the case that allows

18 evaluation of the claimed fifth amendment privilege even in the absence of specific questions to the

19 witness,” a judge may “recognize a blanket privilege against self-incrimination”—i.e., “conclude that

20 the witness could legitimately refuse to answer essentially all relevant questions.” United States v.

21 Shayota, 2016 WL 8732803, at *3 (N.D. Cal. Oct. 21, 2016) (quoting United States v. Moore, 682 F.2d

22 853, 856 (9th Cir. 1982)). In such cases, a proffer by the witness’s attorney that the witness would

23 invoke the Fifth Amendment suffices to allow the court to rule that the privilege applies. See, e.g.,

24 United States v. Sapp, 721 Fed. Appx. 698, 699 (9th Cir. 2018). The Ninth Circuit has repeatedly

25 upheld district court rulings recognizing a blanket assertion of the privilege in such circumstances. See,

26

27          1
            For clarity, Ms. Holmes has redacted in Exhibits A-C portions of the SEC deposition she does
28 not seek to admit.
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 1 e.g., United States v. James, --- Fed. Appx. ---, 2021 WL 4027812, at *4 (9th Cir. Sept. 3, 2021)

 2 (blanket invocation of privilege where court had “unique familiarity with the facts surrounding [the

 3 witness’s] potential criminal liability”); Sapp, 721 Fed. Appx. at 699 (blanket assertion of privilege by

 4 witness’s attorney in response to list of proposed questions by the defense); United States v. Tsui, 646

 5 F.2d 365, 367-68 (9th Cir. 1981) (blanket invocation of privilege where the witness “was up to his neck

 6 in criminal investigations” and the district court knew that “any response to all possible questions would

 7 tend to incriminate the witness”).

 8          Ms. Holmes desires to call Mr. Balwani as a witness in her defense case to testify to his

 9 management of certain aspects of Theranos’ operations put at issue in the government’s case in chief,

10 including the CLIA laboratory operations, the Walgreens and Safeway relationships, the company’s

11 financial model, and a software protocol used in certain technology demonstrations. In response to an

12 inquiry from undersigned counsel about Mr. Balwani’s availability, Mr. Balwani’s attorney, Jeffrey

13 Coopersmith, recently proffered that Mr. Balwani would invoke his Fifth Amendment right not to testify

14 in response to all relevant questions if called by Ms. Holmes. See Decl. of L. Wade. ¶¶ 2-3. That

15 approach is consistent with Mr. Balwani’s prior invocation of his Fifth Amendment privilege in

16 response to all questions in an SEC deposition that post-dated the indictment in this case. See Decl. of

17 Amy Mason Saharia, Ex. D at 3-4.2

18          This Court’s familiarity with this case3 enables it to rule that Mr. Balwani properly could invoke

19 the Fifth Amendment privilege in response to each question identified on Exhibits A-C. Mr. Balwani

20 has already been indicted, and is awaiting trial, on charges related to his role at Theranos. Each of the

21 questions that Ms. Holmes desires to ask Mr. Balwani tends to establish his responsibility for managing

22 certain aspects of Theranos’ operations that the government has put at issue in the indictment. See Third

23 Superseding Indictment, ECF 469, ¶ 12(B) (company’s financial projections), ¶ 12(C) (null protocol for

24 demonstrations), ¶ 12(D) (Walgreens relationship), ¶ 16 (Theranos’ ability to consistently produce

25 accurate and reliable test results in its CLIA laboratory). Testimony that he managed these aspects of

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          2
            Mr. Balwani had previously given three days of deposition testimony to the SEC before the
27 indictment in this case.
          3
28          This Court presided over the SEC action and is therefore familiar with that case as well.
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 1 Theranos’ operations would “furnish a link in the chain of evidence needed to prosecute” Mr. Balwani

 2 “or lead to evidence having a tendency to incriminate him.” See Tsui, 646 F.2d at 367. The Court thus

 3 should rule that Mr. Balwani is unavailable due to his invocation of his Fifth Amendment privilege.

 4 II.      Mr. Balwani’s Prior Testimony Is Admissible under Rule 804(b)(3).

 5          Mr. Balwani’s unavailability gives rise to two separate grounds for admitting his prior SEC

 6 testimony. First, each of the statements that Ms. Holmes seeks to admit is a “statement against

 7 interest”—i.e., a statement that “a reasonable person in [Mr. Balwani’s] position would have made only

 8 if [he] believed it to be true because, when made, it . . . had so great a tendency . . . to expose the

 9 declarant to civil or criminal liability.” Fed. R. Evid. 804(b)(3)(A).

10          Mr. Balwani made the statements in Exhibits A-C in August-September 2017, when he knew

11 that both the SEC and the U.S. Attorney’s Office were investigating Theranos and his conduct in

12 particular. The SEC first issued a subpoena to Theranos nearly two years earlier, in November 2015.

13 See Ex. E. That subpoena specifically targeted Mr. Balwani’s communications, and put at issue in

14 particular the Walgreens and Safeway relationships, Theranos’ financial projections, and laboratory

15 operations. See id. (Requests 6-7, 10-12, 16-20). Later SEC subpoenas further probed these issues.

16 See, e.g., Ex. F (Dec. 8, 2015 subpoena), Ex. G (Feb. 16, 2016 subpoena), Ex. H (May 27, 2016

17 subpoena). So too, the U.S. Attorney’s Office was investigating Theranos throughout 2016 and 2017.

18 See, e.g., Ex. I (Jan. 11, 2016 subpoena), Ex. J (Nov. 30, 2016 subpoena), Ex. K (Sept. 6, 2017

19 subpoena).

20          “Whether a statement is in fact against interest must be determined from the circumstances of

21 each case, and can only be determined by viewing it in context.” United Stated v. Paguio, 114 F.3d 928,

22 933 (9th Cir. 1997) (citation omitted). Rule 804(b)(3)’s use of the phrase “tending to” “broadens the

23 phrase, so that the statement need not be a plain confession making the difference between guilty and

24 not guilty.” Id. Thus, for example, statements admitting a “leadership” role in allegedly fraudulent

25 conduct may well be against a declarant’s interest. See id. (“leading others into wrongdoing has always

26 been seen as especially bad”); see also, e.g., United States v. Persico, 645 F.3d 85, 102 (2d Cir. 2011)

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 1 (statement need not “be[] sufficient, standing alone, to convict” so long as it “would have been probative

 2 in a criminal trial”).

 3          Here, in context, Mr. Balwani’s statements taking responsibility for various aspects of the

 4 company’s operations that were then under investigation by both the SEC and the U.S. Attorney’s office

 5 tended to expose him to both civil and criminal liability. Indeed, the SEC complaint against Mr.

 6 Balwani, filed just months after his depositions, specifically put at issue these aspects of the company’s

 7 operations. See Compl., Case No. 18-1603, Dkt. 1, ¶¶ 25-36, 46, 66-72, 77-84 (N.D. Cal. Mar. 14,

 8 2018). Given the ongoing investigations, Mr. Balwani would not have accepted responsibility unless his

 9 statements were true. See Williamson v. United States, 512 U.S. 594, 599 (1994) (“Rule 804(b)(3) is

10 founded on the commonsense notion that reasonable people, even reasonable people who are not

11 especially honest, tend not to make self-inculpatory statements unless they believe them to be true.”).

12          Additionally, “corroborating circumstances . . . clearly indicate [the] trustworthiness” of Mr.

13 Balwani’s statements. Fed. R. Evid. 804(b)(3)(B). In particular the evidence at trial has corroborated

14 the following:

15                 Mr. Balwani’s prior testimony that he was responsible for the management of the CLIA
16                  lab. 9/28/21 Tr. 2000:22-2001:2 (Rosendorff); 10/15/21 Tr. 3799:6-11 (Dhawan);

17                  11/10/21 Tr. 5913:19-23 (Das).4

18                 Mr. Balwani’s prior testimony that he was responsible for the company’s financial
19                  modeling. 9/22/21 Tr. 1619:21-1620:19 (Mattis).

20                 Mr. Balwani’s prior testimony that he had responsibility for managing the Walgreens’
21                  relationship. 10/14/21 Tr. 3580:17-20 (Jhaveri).

22                 Mr. Balwani’s prior testimony about his role in the Safeway relationship. 10/6/21 Tr.
23                  2978:24-2979:1 (Burd).

24                 Mr. Balwani’s prior testimony concerning the null protocol. 10/20/21 Tr. 4173:3-15
25                  (Edlin).

26
            4
27          The government’s recently filed motion in limine in United States v. Balwani also pointed out
   that “Balwani was the direct report of the Laboratory Director, to whom several senior lab employees
28 reported.” Dkt. 1155 at 18 (citing TX4528).
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 1          For these reasons, the Court should admit Mr. Balwani’s prior testimony at Exhibits A-C under

 2 Rule 804(b)(3).

 3 III.     In the Alternative, Mr. Balwani’s Prior Testimony Is Admissible under Rule 804(b)(1).

 4          Alternatively, Mr. Balwani’s prior testimony is admissible under Rule 804(b)(1). Rule 804(b)(1)

 5 authorizes admission of testimony from an unavailable witness if (A) given “at a trial, hearing, or lawful

 6 deposition,” and (B) offered against a party who had “an opportunity and similar motive to develop it by

 7 direct, cross-, or redirect examination.” Both prongs are satisfied here: (A) Mr. Balwani gave the

 8 testimony at a lawful deposition, and (b) the government had an opportunity and similar motive to

 9 develop his testimony by cross-examination.

10          To be sure, the government entity that examined Mr. Balwani at the deposition was the SEC, not

11 the Department of Justice (DOJ). But in both cases, the federal government was the relevant party. The

12 SEC and DOJ investigated this case jointly. In many cases, the SEC and DOJ jointly interviewed

13 witnesses; as of early 2019, the SEC and DOJ had disclosed to the defense interview memoranda for at

14 least 57 joint interviews, and more have followed since then. DOJ requested and received access to “the

15 investigative and non-public files of the [SEC] related to Theranos.” Dkt. 67-19 (Correspondence

16 between government investigators and SEC). The government also produced millions of pages of SEC

17 documents as discovery in this case. And, as the Ninth Circuit has explained, “Congress has expressly

18 authorized the SEC to share information with the Department of Justice to facilitate the investigation

19 and prosecution of crimes,” United States v. Stringer, 535 F.3d 929, 939 (9th Cir. 2008), since the SEC

20 itself lacks criminal enforcement authority.

21          Thus, as a general matter, the SEC and DOJ “play closely coordinated roles on behalf of the

22 United States in the overall enforcement of a single statutory scheme.” United States v. Sklena, 692

23 F.3d 725, 732 (7th Cir. 2012) (holding that CFTC and DOJ qualified as the same “party” for purposes of

24 Rule 804(b)(1) even though DOJ did not have litigating authority for the CFTC). And, on the specific

25 facts of this case, the two agencies closely coordinated their investigations at the time of Mr. Balwani’s

26 deposition testimony. There can be no question on these facts that DOJ had the opportunity to shape the

27 questions posed by SEC attorneys to Mr. Balwani at a time when the two agencies were jointly

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 1 investigating Mr. Balwani. See id. at 731 (“[H]ad the Department wished, it could have ensured that the

 2 CFTC lawyers included questions of interest to the United States when they deposed [the witness].”).

 3          Other cases declining to apply Rule 804(b)(1) in the context of SEC deposition testimony are

 4 easily distinguishable. In United States v. Baker, 923 F.3d 390 (5th Cir. 2019), the two agencies did not

 5 participate in joint interviews, the SEC “limited the information it provided to the DOJ,” and the SEC

 6 had been “uncooperative” with DOJ. Id. at 400-01. In that context, the Fifth Circuit held that the two

 7 agencies were not the same “party” for purposes of Rule 804(b)(1).5 The very opposite was true here:

 8 the two agencies cooperated extensively. United States v. Martoma, 2014 WL 5361977 (S.D.N.Y. Jan.

 9 8, 2014) is also distinguishable. There, the DOJ prosecutor assigned to the case submitted a declaration

10 disclaiming any involvement in preparing or even advance knowledge of the topics of the at-issue

11 deposition. Id. at *3. And the decision identifies no joint investigative efforts of the type apparent on

12 the record here. See id. On this record, DOJ and the SEC are fairly considered the same party for

13 purposes of Rule 804(b)(1).

14          The government also had a similar “motive” to cross-examine Mr. Balwani at the time of his

15 prior depositions. This is “‘inherently a factual inquiry’ based on ‘the similarity of the underlying issues

16 and on the context of the . . . questioning.’” United States v. Duenas, 691 F.3d 1070, 1089 (9th Cir.

17 2012) (quoting United States v. Salerno, 505 U.S. 317, 326 (1992) (Blackmun, J., concurring)).

18 Identical motivation is not required, id. at 1088, nor does it matter that the incentive to elicit

19 incriminating evidence at the prior proceeding was “likely not as intense as it would have been at trial,”

20 id. at 1089 (citation omitted).

21          Here, the government’s motivation in deposing Mr. Balwani was similar to its motivation to

22 examine him at trial: to develop incriminating evidence against both him and Ms. Holmes. By 2017,

23 both Mr. Balwani and Ms. Holmes were targets of the SEC and DOJ joint investigation. The

24 government had already been investigating for nearly two years. Notably, the SEC frequently used

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26          5
             The Fifth Circuit also reasoned that the two agencies need not “cooperate to enforce the same
27 statutory scheme” and that “[t]he SEC is an independent agency with its own litigating authority.” 923
   F.3d at 401. Those observations are materially incomplete: the DOJ and SEC jointly enforce the
28 securities scheme because the SEC lacks “litigating authority” in criminal matters.
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 1 leading questions in the deposition. See, e.g., Ex. B (SEC attorney stating as a question “[Ms. Holmes]

 2 was generally familiar with the kinds of inputs that went into the financial model?”). And the fact that

 3 both were “investigating the same underlying conduct with an eye to take enforcement action” further

 4 supports the conclusion that the SEC and DOJ had similar motives to develop Mr. Balwani’s testimony.

 5 Sklena, 692 F.3d at 732 (finding a similar motive when “the [CFTC] and [DOJ] alleged and needed to

 6 prove the same allegations, as a comparison of the CFTC’s civil complaint and the indictment

 7 demonstrate[d]”). The SEC complaint alleges near identical conduct as the indictment in this case

 8 including, as relevant to this motion, alleged misrepresentations regarding Theranos technology,

 9 “stalled” relationships with retailers, and alleged misrepresentations concerning financial numbers.

10 Compare Compl., Case No. 18-1603, Dkt. 1 with TSI Dkt. 469. On these facts, the government cannot

11 credibly argue, as it has done in other cases, that its deposition of Mr. Balwani was an exploratory,

12 information-gathering deposition “during an early investigation.” SEC v. Jasper, 678 F.3d 1116, 1128

13 (9th Cir. 2012). The government’s deposition of Mr. Balwani was undoubtedly an “adverse witness

14 deposition, when battle lines have already been drawn.” Id. at 1128-29. In sum, the government had a

15 similar incentive to probe his statements taking ownership of certain aspects of the company’s

16 operations then as it has now.

17          For all these reasons, the Court should admit Mr. Balwani’s prior SEC testimony excerpted at

18 Exhibits A-C.

19                                               CONCLUSION

20          For the foregoing reasons, Court should grant Ms. Holmes’ Motion and admit the testimony

21 identified in Exhibits A-C.

22

23 DATED: November 24, 2021                              Respectfully submitted,

24                                                       /s/ Amy Mason Saharia
                                                         KEVIN DOWNEY
25                                                       LANCE WADE
                                                         AMY MASON SAHARIA
26                                                       KATHERINE TREFZ
                                                         Attorneys for Elizabeth Holmes
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 1                                     CERTIFICATE OF SERVICE

 2         I hereby certify that on November 24, 2021 a copy of this filing was delivered via ECF on all
 3 counsel of record.

 4

 5                                                     /s/ Amy Mason Saharia
                                                       AMY MASON SAHARIA
 6                                                     Attorney for Elizabeth Holmes

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